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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Criminal No. 1:21-CR-380-CKK
                                               :
BRIAN JEFFERY RAYMOND,                         :
                                               :
                       Defendant               :

                GOVERNMENT’S OPPOSITION TO DEFENDANT’S
             MOTION TO DISQUALIFY TRIAL ATTORNEY JAMIE PERRY

       The United States, by and through the undersigned attorneys, respectfully files its

opposition to defendant Brian Jeffery Raymond’s “Motion to Disqualify Trial Attorney Jamie

Perry,” filed through counsel (ECF No. 135, hereinafter, “motion”). In his motion, the defendant

claims that Department of Justice Trial Attorney Jamie Perry “has an irreconcilable conflict of

interest and personal stake in the outcome of these proceedings,” ECF No. 135 at 1, because she

advised law enforcement on the now-challenged execution of a search warrant in this case and

allegedly failed to highlight relevant discovery materials. Therefore, defendant argues, government

counsel should be disqualified.

       The defendant’s motion is simply a naked attempt to bolster an unsustainable suppression

argument raised in a different context and malign a Justice Department prosecutor in the process.

It contains a highly misleading rendition of the facts, and it offers no valid basis for the Court to

take the extraordinary step of disqualifying a government attorney. The defendant’s motion

misapplies civil liability law to threaten a civil suit against the assigned prosecutor and

misconstrues the statutes and regulations governing conflicts for Department of Justice attorneys,

all in an effort to create the appearance of a conflict where none exists. Finally, the instant motion

is based upon a suppression claim that, as will become clear in the government’s response to the

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defendant’s motion to withdraw his guilty plea, presents no basis upon which this Court would

have suppressed the evidence obtained from the defendant’s personal iPhone. Accordingly, the

motion to disqualify Trial Attorney Jamie Perry from this case should be summarily denied.

                             LIMITED FACTUAL SUMMARY

       The claims presented in the defendant’s motion are outrageous and factually incorrect.

Much of his motion restates the Fourth and Fifth Amendment arguments contained within his

motion to withdraw his guilty plea, ECF No. 119, the merits of which the government will fully

address in its response, due on July 22, 2022. However, to the extent that the facts presented in

the defendant’s motion to disqualify government counsel relate specifically to Ms. Perry’s

conduct, the government seeks here to correct the most reckless and incendiary misstatements and

proffers what the testimony of Agent Mikel Gajkowski would provide in the event of a hearing on

the matter. The factual corrections contained herein will be supplemented in the government’s

response to the merits of the defendant’s suppression arguments.

   A. Defendant Incorrectly Asserts Ms. Perry Knew He Referenced an Attorney Upon
      Execution of the Warrant

       The defendant’s motion incorrectly claims that following the seizure of the defendant’s

two phones, one personal iPhone (the subject of the defendant’s motion to withdraw) and one

work-issued iPhone, the agents told Ms. Perry that the defendant “invoked his right to silence.”

ECF No. 135 at 2-3, 16-17. That is false—Ms. Perry was unaware that the defendant had even

mentioned a lawyer until several weeks after his phones were seized.

       During Agent Gajkowski’s interview of the defendant on June 6, 2020, the agents asked

the defendant how his phones were secured, and he stated they were locked with a PIN, which he

declined to provide at that time. The defendant did not mention that the phones could be opened


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with a finger/thumbprint or facial scan. Operating on the understanding that a PIN was the only

option for unlocking the two phones, the agents seized his phones without attempting the biometric

procedures provided for within the warrant. After the interview, Agents Gajkowski and Ted

Nelson drove to a nearby parking lot for a meeting with two additional agents who were staged in

the area. From the parking lot, Agent Gajkowski made a quick telephone call to Ms. Perry and

reported that she had seized the two phones, the phones were locked with a PIN that the defendant

declined to provide, and the biometric procedures authorized by the warrant were not attempted. 1

Agent Gajkowski did not inform Ms. Perry that the defendant had mentioned a lawyer when

presented with the search warrant, and Ms. Perry did not learn this information until several weeks

later upon review of the audio recording from the interview. 2

         Ms. Perry then called her supervisor at the Department of Justice to discuss the matter.

After the conversation with her supervisor, Ms. Perry called Agent Gajkowski and told her that

because the agents were still in the immediate area and because little time had elapsed, they should

compel the defendant to open the phones using biometric procedures authorized by the warrant.

Subsequently, the agents called the defendant and asked him to meet them in the lobby of his hotel,

where they had him open his phones using the biometric procedures set forth in Attachment B of

the warrant. See ECF No. 119-1 (sealed exhibit). More specific facts regarding the interactions

between the defendant and the agents in the hotel lobby—relevant to the defendant’s motion to




1
  This telephone conversation occurred before the agents were met by a local police officer at the defendant’s hotel
and is therefore not captured on the body-worn camera footage.
2
 Agent Gajkowski understood the defendant’s mention of an attorney, when first presented with the warrant, not as
an invocation of his right to silence but rather a reluctance or refusal to turn over his physical devices. Because the
agents had a lawful warrant, Agent Gajkowski did not believe his statement to have any legal impact on her ability to
physically seize the devices.

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withdraw plea (ECF No. 119)—will be fully addressed in the government’s response to that filing. 3

         Additionally, on June 5, 2020, the day before the agents planned to seize the defendant’s

phones, Ms. Perry and Agent Gajkowski discussed the procedures authorized by the warrant and

exactly what could be compelled and what could not. Ms. Perry advised Agent Gajkowski, both

verbally and in writing, that the agents could compel the defendant to unlock his phones using

biometrics (thumb/fingerprint and/or facial scan) and they could ask him to voluntarily provide his

passcode, but they could not compel him to reveal his passcode. (Exhibit 1). As will be fully

discussed in the response to the defendant’s motion to withdraw his plea, and as is readily apparent

on the bodycam footage that the government will attach to its response, Agent Gajkowski followed

this advice by reminding the defendant several times that it was his choice whether to provide his

passcode and stating that they could not compel him to do so. 4




3
  The government notes that on the body-worn camera – the same body-worn camera the government provided to the
defense as part of discovery in this case – only Agent Gajkowski’s side of any telephone conversations can be heard.
At one point, Agent Gajkowski used one telephone to speak with Ms. Perry and during that call used another phone
to contact a special agent from her office, who serves as a resource on evidence collection, for technical advice on
how to keep the phones from relocking. When reviewing the body-worn camera footage, the listener cannot hear
anything Ms. Perry or the agent on the other phone are saying, and at times it is unclear whether Agent Gajkowski is
responding to Ms. Perry or the agent. Despite this non-evidence, the defendant’s motion nevertheless alleges that
Ms. Perry herself advised Agent Gajkowski that agents could continue to have the defendant open his phones, up until
point when the warrant was returned, without limitation. See ECF No. 135 at 5, 16. Agent Gajkowski will testify, if
required, that Ms. Perry never made any such assertion. Rather, during a call between Agent Gajkowski and Ms.
Perry from the hotel lobby, Ms. Perry expressed concern about the idea to return the following week with a computer
forensics agent present to have the defendant unlock the phones, as she considered whether it would be temporally
too attenuated from the date of the original seizure. Ms. Perry also asked Agent Gajkowski whether an agent could
continuously touch the screens of the phones, once unlocked one last time, to keep them from relocking while another
agent drove directly to the computer forensics lab. The agents believed this was unlikely to succeed, as the
defendant’s personal phone continually relocked within a matter of seconds.
4
  In the government’s opposition to the motion to withdraw, the government will address the defendant’s accusation
that the agents repeatedly requested that the defendant reveal his PIN code. While not pertinent to a motion to recuse,
here, the government notes that several of the occasions identified by the defendant as ‘continued harassment’ and
attempts to obtain his PIN were, in fact, instances during which Agent Gajkowski confirmed the defendant’s right to
maintain the secrecy of his PIN code, adhering to the guidance provided by Ms. Perry that the PIN could not be
compelled.
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   B. The Government Properly Disclosed Materials Relating to the Phone Seizure to
      Defense Counsel

       The defendant’s motion alleges that the government failed to highlight for defense counsel

the materials relating to the June 6, 2020, seizure of the defendant’s phone. See ECF No. 135 at 6-

7. In fact, the government produced the body-worn camera footage three times, each time noting

its existence to counsel.

       Discovery in this case has been voluminous. When organizing, preparing, and producing

voluminous discovery, there is sometimes a substantial delay while discovery materials are

uploaded into the government’s discovery software, Relativity, and then formally marked and

produced by the litigation support department. In the interest of time and to ensure the defense

had all relevant materials as soon as practicable, the government sent materials to defense counsel

“unofficially,” meaning without the use of Relativity and without Bates-numbers. Once the

materials were ready, the government then reproduced the same materials “officially,” meaning

through Relativity and with Bates-numbers.

       On January 27, 2021, the government “officially” produced 4,414 pages of Bates-stamped

documents, comprised of FBI reports and copies of search warrants and accompanying affidavits,

to include the search warrant for the defendant’s two iPhones. On the same date, the government

also “unofficially” produced additional materials it thought would be important to defense counsel,

to include victim interview reports, materials relating to the defendant’s June 2 and June 6, 2020,

interviews, and the June 6, 2020, bodycam footage. The government highlighted those materials

in its discovery letter. (Exhibit 2).

       On June 16, 2021, the government “officially” produced documents numbered 7,856-

10,542. In its accompanying discovery letter, the government indicated that the production


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included a voice memo created by Agent Ted Nelson on June 6, 2020. The letter then went on to

state, “Note: we have included the two body-worn camera videos from June 6 to ensure that the

materials relevant to Agent Nelson’s voice note are easily accessible.”                         (Exhibit 3).       The

government therefore took the extra step of reproducing the bodycam footage and noting it in the

letter, making it abundantly clear that Agent Nelson’s voice memo regarding the phone seizure

was linked to the bodycam footage and making it easy for defense counsel to readily link those

materials and review them together. Finally, the government produced the bodycam footage a

third time, this time “officially” with Bates-numbers on June 30, 2021, noting in the accompanying

letter, “You have already received some of these items informally, to include…phone seizure

body-cam footage...” (Exhibit 4). Contrary to the defendant’s allegations, the government took

reasonable measures to ensure that defense counsel was aware of the most relevant evidence, to

include its efforts to search and seize the defendant’s personal phone. Allegations that the

government intentionally avoided highlighting certain discovery is, at its best, unsupported, and at

its worst, a possible attempt to deflect responsibility to review and sully opposing counsel. 5

                                                  ARGUMENT

    A. There is No Conflict Requiring Disqualification of Government Counsel

         The defendant alleges that Ms. Perry has an “irreconcilable conflict of interest” and

therefore must be recused from this case based primarily upon a hypothetical, threatened personal


5
  The defendant’s motion to disqualify contains an additional allegation, namely, that Ms. Perry was unwilling to
discuss the defendant’s concerns regarding the phone seizure and the effect thereof on the plea agreement. See ECF
No. 135 at 20-21. While not dispositive for either of the defendant’s pending motions, the government notes, for the
record, that the defendant’s characterization of this conversation lacks important nuance. During a meeting to discuss
classified discovery, held on March 28, 2022, defense counsel, without advanced notice, made allegations regarding
the seizure of the defendant’s phone and suggested that the government reopen the plea negotiations and discuss the
possibility of a more lenient sentence. Given the lack of notice, the government attorneys were unprepared to discuss
the issue at that time and therefore declined to do so, suggesting instead that if the defendant felt as though he had a
basis upon which to withdraw his plea, he should consider immediately alerting the Court, as the parties had been
instructed to file a proposed sentencing calendar shortly thereafter.
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liability suit as well as the need for Ms. Perry to testify in this matter. See ECF No. 135 at 1-2, 13,

18. As explained herein, no such conflict exists. Ms. Perry did not violate the defendant’s

clearly established rights and did not encourage or direct the agents to do so. As such, any

anticipated civil action would be summarily dismissed, and nevertheless, the mere filing of a

lawsuit does not, on its own, create a conflict. Additionally, Ms. Perry is not a necessary witness

as to the instant motion or the defendant’s motion to withdraw his plea. If a hearing is required

to inform the Court’s ruling on the alleged suppression issues, Agent Gajkowski would testify to

the execution of the warrant, the seizure and subsequent unlocking of the defendant’s phones, and

the advice she received from Ms. Perry. As discussed further in Section B, prosecutors routinely

give advice to agents during investigations, and agents routinely testify as to their adherence to

such advice. Finally, Department of Justice regulations do not provide any basis upon which Ms.

Perry should be recused, and forced disqualification of a government prosecutor would raise

significant concerns relating to the separation of powers. For these reasons, the defendant’s

motion should be denied.

           1. Ms. Perry did not violate the defendant’s rights.

       The defendant’s motion to disqualify government counsel is premised entirely upon an

unsupported argument that the seizure of his personal iPhone was unconstitutional and that

government counsel intentionally directed the purportedly illegal search. The government will

fully respond to the constitutional claims regarding the manner in which the defendant’s phone

was seized in its response to his motion to withdraw his plea, and it will establish there were no

constitutional violations. At issue in the instant motion, however, is Ms. Perry’s involvement in

advising Agent Gajkowski before and during the seizure, which is addressed herein.

       To respond to the defendant’s allegation that Ms. Perry violated the defendant’s

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constitutional rights, and to orient the Court, the government briefly restates the most relevant facts

as follows: (1) law enforcement lawfully seized the defendant’s personal phone but failed to utilize

the biometric provisions as authorized by the warrant; (2) upon alerting Ms. Perry to the fact that

such techniques were not used, Ms. Perry consulted with a supervisor; (3) considering the fact that

the agents were still in the immediate area and that little time had elapsed, Ms. Perry then directed

the agents to employ the biometric unlocking procedure; and (4) the agents reengaged the

defendant to unlock the phones as explicitly authorized by the warrant. Both before and during

the phone seizure, Ms. Perry instructed Agent Gajkowski that the use of the defendant’s

thumb/fingerprint and/or face could be compelled but that the defendant could not be forced to

provide his PIN. Contrary to the defendant’s bold allegations, Ms. Perry never encouraged the

agents to harass the defendant for his PIN, nor did they do so. Ms. Perry was also not aware that

the defendant had mentioned an attorney until several weeks after the phone was seized. 6

         Despite the defendant’s egregious misstatement of the evidence relating to the seizure of

his phone, there are no facts, whatsoever, to indicate that Ms. Perry violated the defendant’s

constitutional rights or directed the agents to do so. Accordingly, there is no basis upon which to

argue that Ms. Perry has a conflict based upon the legal advice given in relation to the seizure.

             2. Ms. Perry is not subject to personal liability.

         The defendant’s motion is replete with implied threats that a civil suit against Ms. Perry is

all but assured. 7 However, even if such action were to materialize, Ms. Perry is protected by


6
  By proffering what Ms. Perry knew and when, the government does not concede that the defendant’s statement
regarding his request for an attorney implicates his constitutional rights surrounding the seizure and download of his
phone. This will be fully briefed in the government’s response to the motion to withdraw the plea. Nevertheless, we
intend to clarify relevant facts for the purposes of this Motion and the future Opposition to the motion to withdraw.
7
  The defendant’s motion is anchored by a misguided belief that because Ms. Perry engaged in a constitutional
violation, and because she is now subject to civil liability, her role as a prosecutor is somehow tainted. But this claim
makes several unsupported leaps, to include Ms. Perry’s purported concerns over civil liability.
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qualified immunity. Ms. Perry did not personally engage in conduct that violated the defendant’s

rights, and his generalized constitutional claims do not sufficiently establish a viable claim.

       Qualified immunity shields “government officials performing discretionary functions . . .

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). Qualified immunity not only protects against liability; it

shields individuals from trial and even discovery. See Saucier v. Katz, 533 U.S. 194, 200–01

(2001), rev’d in part on other grounds, Pearson v. Callahan, 129 S. Ct. 808 (2009) (recognizing

that qualified immunity “is an immunity from suit rather than a mere defense to liability”). The

qualified immunity doctrine recognizes the unique costs and burdens associated with personal-

capacity litigation against government officials. These include the diversion of official energy

and resources to litigation rather than pressing public problems, the threat of personal liability

discouraging capable people from assuming public positions, and the fear of suit deterring officials

from exercising judgment with the decisiveness critical to their offices. See Harlow, 457 U.S. at

814; see also Filarsky v. Delia, 566 U.S. 377, 389–90 (2012) (explaining that qualified immunity

“help[s] to avoid ‘unwarranted timidity’ in performance of public duties, ensuring that talented

candidates are not deterred from public service, and preventing the harmful distractions from

carrying out the work of government that can often accompany damages suits”) (internal citation

omitted). And since these costs and burdens begin to accrue as soon as a case is filed, the Supreme

Court “repeatedly ha[s] stressed the importance of resolving immunity questions at the earliest

possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per curiam).

       Qualified immunity insulates a prosecutor’s conduct even if the criminal defendant’s rights

were violated. See Wilson v. Layne, 526 U.S. 603, 614, 618 (1999) (holding that media presence

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during warrant execution violated Fourth Amendment but granting qualified immunity because

right to exclude media was not clearly established). In essence, qualified immunity gives public

officials the benefit of the doubt so long as the law at the time of their conduct did not clearly

prohibit their actions. See Saucier, 533 U.S. at 202 (“If the law did not put the officer on notice

that his conduct would be clearly unlawful, . . . qualified immunity is appropriate.”); Hunter, 502

U.S. at 229 (describing qualified immunity as “accommodation for reasonable error”). Qualified

immunity provides “ample room for mistaken judgments” and protects all government officials

except “the plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475

U.S. 335, 343 (1986). Neither exception is applicable here.

          If the defendant were to bring a civil suit against Ms. Perry, any court would, at the earliest

stage, evaluate (1) whether the defendant has alleged government counsel personally engaged in

conduct that violated a constitutional right, and (2) whether that right was clearly established at

the time of the alleged violation. Saucier, 533 U.S. at 201–02. Both prongs must be satisfied,

but courts have discretion to address these prongs in any order and may grant qualified immunity

because the right alleged to have been violated was not “clearly established.” Pearson, 555 U.S.

at 227.

          When properly defined, qualified immunity focuses on whether the constitutional or

statutory right at issue was clearly established on the particular facts of the case. See Dist. of

Columbia v. Wesby, 138 S. Ct. 577, 590 (2018) (“The ‘clearly established’ standard [] requires that

the legal principle clearly prohibit the officer’s conduct in the particular circumstances before

him.”). In conducting such an analysis, courts routinely reject attempts from plaintiffs to define

the right with only general constitutional precepts, such as “due process,” “free speech,” or

“reasonableness.” See San Francisco v. Sheehan, 575 U.S. 600, 613 (2015) (“Qualified immunity

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is no immunity at all if ‘clearly established’ law can simply be defined as the right to be free from

unreasonable searches and seizures.”). Notably, the generalized claims in the defendant’s motion

are too vague and do not meet this need for “specificity [which is] is especially important in the

Fourth Amendment context” because “it is sometimes difficult for an officer to determine how the

relevant legal doctrine . . . will apply to the factual situation the officer confronts.” Mullenix v.

Luna, 577 U.S. 7, 12 (2015) (per curiam).

       In the instant matter, no clearly established right was violated by the advice Ms. Perry

provided to the agents. The inclusion of biometric unlocking procedures in search warrants is a

recent development, and while courts throughout the country have largely concluded that such

procedures do not violate the Fourth and Fifth Amendments, there is little authority as to precisely

how to carry out such procedures. Magistrate Judge Harvey’s opinion regarding biometrics,

issued two years before the seizure at issue in this case, notes that this is an “emerging area of the

law.” Matter of Search of [Redacted] Washington, D.C., 317 F. Supp. 3d 523, 526 (D.D.C. 2018).

The opinion concludes that biometric provisions contained in search warrants do not violate either

the Fourth or Fifth Amendments, but it says little about how agents should implement such

provisions. See id. at 533 (drawing upon cases involving fingerprinting procedures, Judge Harvey

simply indicates that the procedure should be done “with dispatch” and in the immediate vicinity

of the premises to be searched but does not define the outer limits of what it means to act with

dispatch). For a right to be clearly established, “existing precedent must have placed the statutory

or constitutional question beyond debate.” Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011); see

also Wesby, 137 S. Ct. at 590 (“It is not enough that the rule is suggested by then-existing

precedent. The precedent must be clear enough that every reasonable official would interpret it

to establish the particular rule the [criminal defendant] seeks to apply. Otherwise, the rule is not

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one that every reasonable official would know.”) Here, there was no clearly established right that

was violated, as the law regarding the use and logistics of biometric unlocking procedures is still

emerging. Importantly, none of the defendant’s rights were personally violated by Ms. Perry, as

her advice was reasonable and took into account that the agents were still in the immediate area

and little time had elapsed, and the advice was given after consultation with a supervisor.

Additionally, the fact that the defendant mentioned a lawyer, which Ms. Perry did not know until

later, has no bearing on the analysis here, as a determination of qualified immunity is limited to

the facts known to the government official at the time of the conduct in question. See Hernandez

v. Mesa, 137 S. Ct. 2003, 2007 (2017) (“Facts an officer learns after the incident ends—whether

those facts would support granting immunity or denying it—are not relevant.”).

        Ms. Perry’s conduct was not plainly incompetent or a knowing violation of the law; rather,

it was reasonable and well within the bounds of her ethical and constitutional duties. See

Anderson v. Creighton, 483 U.S. 635, 639 (1987) (finding that where a government official’s

conduct is objectively reasonable, the official will be protected from liability). Accordingly, any

civil suit threatened or brought against Ms. Perry based upon the advice provided to agents both

before and during the seizure of the defendant’s phone would certainly be dismissed at the earliest

possible stage based upon qualified immunity. Ms. Perry therefore has no conflict due to an

interest in the outcome of a hypothetical or threatened civil suit, and there is no basis upon which

to disqualify Ms. Perry from this case. 8




8
  The defendant’s motion all but concedes this point, noting that a disqualifying conflict would require a “bona fide
civil action” alleging bad faith as well as proof of misconduct by clear and convincing evidence, none of which is
present here, and recognizing that in the absence of such evidence, a defendant cannot disqualify a prosecutor by the
mere filing of a civil suit. See ECF No. 135 at 13.
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           3. Ms. Perry is not an essential witness.

       The defendant next argues that Ms. Perry is an essential witness to the seizure of the

defendant’s phone. This assertion ignores the obvious fact that any testimony this Court deems

necessary to resolve the defendant’s motion to withdraw his plea can be obtained by other means.

To be called as a witness, a prosecutor’s testimony must be vital and unable to be presented from

another source. United States v. Wooten, 377 F.3d 1134, 1143 (10th Cir. 2004). “Where witnesses

other than the prosecutor can testify to the same matters or conversations, no compelling need

exists.” United States v. Wallach, 788 F. Supp. 739, 744 (S.D.N.Y. 1992); see also United States

v. Torres, 503 F.2d 1120, 1126 (2d Cir. 1974) (a prosecutor should not take the stand unless

unavoidably necessary and all other sources of possible testimony have been exhausted). As with

all matters of courtroom practice, the district court has wide discretion over whether to allow a

prosecutor to be called as a witness. United States v. Hinkle, 492 F.2d 660, 662 (D.C. Cir. 1974).

       It is not a foregone conclusion that this Court will conduct a suppression hearing when

ruling on the defendant’s motion to withdraw his plea. Given that the motion is based upon an

allegation that ineffective assistance of counsel tainted the defendant’s guilty plea, the Court could

find, for example, that prior counsel reviewed the evidence relating to the phone seizure,

determined that a suppression argument was not worth raising, and made a tactical decision to turn

her attention to negotiating a favorable plea agreement, and therefore conclude that prior counsel’s

performance did not fall below an objective standard of reasonableness. See generally Strickland

v. Washington, 466 U.S. 668 (1984). In this scenario, the Court may elect not to address the

second Strickland prong regarding prejudice. This would end the inquiry as to whether the Rule

11 change of plea proceeding was tainted, and the Court would then move on to assess whether

the defendant made a viable claim of innocence and whether the government had suffered any

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prejudice. And even if this Court were to address prejudice—whether there is a reasonable

probability the outcome would have been different had counsel filed a motion to suppress the

evidence from the defendant’s personal phone—the Court could do so based upon the parties’

filings and relevant law and choose not to hold a suppression hearing to hear testimony regarding

the phone seizure.

       Even assuming the Court decided to hold a suppression hearing before ruling on the

defendant’s motion to withdraw his plea, Ms. Perry’s testimony would not be vital, and other

witnesses would testify to the relevant information. Agent Gajkowski could testify as to the oral

advice provided by Ms. Perry, both before and during the seizure, and Ms. Perry’s written guidance

to Agent Gajkowski could be entered into the record as an exhibit.

       Even where there is a “solid allegation” that prosecutors may serve as witnesses in the

litigation, it is in the district court’s discretion to disqualify a prosecutor on these grounds. See

United States v. Sattar, 314 F. Supp. 2d 279, 316 (S.D.N.Y. 2004) (citing Purgess v. Shamrock,

33 F.3d 134, 144 (2d Cir. 1994) (“The disqualification of an attorney…is a matter committed to

the sound discretion of the district court.”)). In the unlikely event the Court determined that there

were facts known only to Ms. Perry and not available from any other source, such testimony would

relate only to the suppression issues contained within the defendant’s two pending motions and

would not be relevant during trial, should the defendant succeed in withdrawing his plea. A

narrowly tailored remedy, such as asking Ms. Perry to recuse only from the proceedings relating

to the motion to withdraw the plea, would account for any such concerns. Disqualification from

the ongoing case would be unwarranted, if not unprecedented.




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            4. The defendant’s other arguments regarding a purported conflict of interest,
               to be remedied by Ms. Perry’s disqualification, also fail.

        As established above, Ms. Perry does not have a personal interest in this case. But it is

worth noting that the rules cited by the defendant generally relate to financial, personal, or political

conflicts of interest, as opposed to prosecutorial advocacy or (assuming arguendo for the

defendant’s motion) bad advice. Based upon the Code of Federal Regulations and relevant

Department of Justice policies, the possible conflicts of concern are those of a financial nature and

those that involve a personal or political relationship with an interested party. An executive

branch employee cannot substantially participate in “any particular matter in which, to his

knowledge, he or any other person specified in the statute, has a financial interest, if the particular

matter will have a direct and predictable effect on that interest.” 5 C.F.R. § 2640. For example,

a DOJ prosecutor should not, without an agency waiver, become substantially involved in the

investigation of a company for which he serves as an investor. Additionally, a DOJ prosecutor

cannot, without agency permission, participate in the criminal investigation or prosecution if she

has a personal or political relationship with the subject of the investigation or with a person she

knows has a specific and substantial interest that would be directly affected by the outcome of the

investigation or prosecution. 28 C.F.R. § 45.2. This typically includes relatives, employers

(past, present, and prospective), and business associates. And executive branch employees must

take steps to avoid an appearance of the loss of impartiality in matters involving personal and

business relationships. 5 C.F.R. § 2635.

        Notably, decisions relating to these conflicts are left to the executive branch agencies, and

the regulations are not intended to create rights enforceable by private individuals. See, e.g., 28




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C.F.R. § 45.2(d) and 5 C.F.R. § 2635.502(d). Title 3-1.140 9 of the Justice Manual “does not

mandate recusal or disqualification, but rather outlines a procedure that should be followed if the

U.S. Attorney [or Section Chief] becomes aware of a matter that might require recusal.”

Rodriguez v. Shulman, 843 F. Supp. 2d 96, 100 (D.D.C. 2012) (discussing the Justice Manual’s

precursor). The Department of Justice’s Ethics Office provides specific guidance on financial

conflicts of interest warning against situations that may unfairly benefit an employee, an

employee’s relative, or an organization where the employee has previously worked or is seeking

future       employment.            See        United         States        Dep’t        of       Just.,       Conflicts,

https://www.justice.gov/jmd/conflicts.

         The federal regulations governing conflicts for executive branch employees and the rules

promulgated by DOJ do not recognize the type of conflict alleged by the defendant. Ms. Perry

has no financial interest in this matter and no personal or political relationships with the defendant

or any victim or any other relevant person. That Ms. Perry provided advice during the course of

the investigation—whether legally correct or the product of error—such advocacy does not in any

way, shape, or form mandate recusal. The law does not require a level of disinterest such that

future, ongoing proceedings in the litigation be sanitized of a prior prosecutors’ participation.

See, e.g., FTC v. Facebook, Inc., No. 20-3590 (JEB), 2022 WL 103308, *20 (D.D.C. Jan. 11, 2022)

(“True disinterest on the issue of such a defendant’s guilt is the domain of the judge and the jury

— not the prosecutor.” (quoting Wright v. United States, 732 F.2d 1048, 1056 (2d Cir. 1984)

(internal quotation marks omitted))).



9
  The Justice Manual states “When United States Attorneys, or their offices, become aware of an issue that could
require a recusal in a criminal or civil matter or case as a result of an actual or apparent conflict of interest, they must
contact EOUSA’s General Counsel’s Office (GCO).” U.S. Dep’t of Just., Just. Manual § 3-1.140 (2018).

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         Furthermore, the relief requested by the defendant implicates meaningful separation-of-

powers issues. More broadly, the Constitution provides for three coordinate branches of

government:

         The Constitution confers limited authority on each branch of the Federal
         Government. It vests Congress with enumerated “legislative Powers,” Art. I, § 1; it
         confers upon the President “[t]he executive Power,” Art. II, § 1, cl. 1; and it endows
         the federal courts with “[t]he judicial Power of the United States,” Art. III, § 1. In
         order to remain faithful to this tripartite structure, the power of the Federal
         Judiciary may not be permitted to intrude upon the powers given to the other
         branches.

Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016), as revised (May 24, 2016) (emphasis added).

Specifically, the authority to assign attorneys to prosecute violations of federal offenses lies with

the Attorney General. See generally Title 28, United States Code, Chapters 31 and 35. 10 Any

action by the Court to intrude upon that authority without an extraordinary reason to do so would

raise serious separation of powers concerns. See, e.g., In re U.S., 441 F.3d 44, 58 (1st Cir. 2006)

(“This court has been mindful of these separation of powers constraints. It has rejected an attempt

to have federal courts use their inherent supervisory authority to disqualify a federal prosecutor

who had otherwise been properly appointed by the Executive branch.”); United States v. Silva-

Rosa, 275 F.3d 18, 22 (1st Cir. 2001) (“In essence, then, appellants are asking this Court to dictate

to the executive branch whom it can appoint to serve as its prosecutors. Such a position would

expand the power of judicial officials to such a degree as to trigger weighty separation of powers

concerns.”); In re Matter of Grand Jury Subpoena of Rochon, 873 F.2d 170, 176 (7th Cir. 1989)

(“In sum, disqualification is a drastic measure which courts should hesitate to impose except when


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   A fundamental principle of criminal law is that “[o]ur legal system has traditionally accorded wide discretion to
criminal prosecutors in the enforcement process.” Marshall v. Jerrico, Inc., 446 U.S. 238, 248 (1980). Integral to
that discretion, the government has an “interest in retaining its chosen counsel” and the “right to prosecute the matter
through counsel of its choice.” United States v. Vega, 317 F. Supp. 2d 599, 602−03 (D.V.I. 2004).
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absolutely necessary.”).

       The government is unaware of any occasion where a court in this circuit has disqualified

the duly assigned prosecutor in a federal criminal matter of this nature. More to the point, this is

not simply the duly assigned prosecutor in a criminal case, but the executive branch’s

representative before a separate branch of government. As even recognized by the defendant, in a

different context, such employees represent a “sovereignty” distinct from an ordinary party. See

ECF No. 135, at 23 (quoting Berger v. United States, 295 U.S. 78, 88 (1935). This sovereignty is

permitted the attorney of her choosing.

   B. The Requested Remedy is Impractical and Untenable

       Federal prosecutors routinely engage with law enforcement beginning at the earliest stages

of an investigation. Ideally, prosecutors and agents work together as a team when strategizing

about investigatory tactics, drafting search warrant affidavits, and planning for interviews. Such

collaboration should be encouraged, as it gives the prosecutor an opportunity to advise agents in

advance of such operations as to the subject’s legal rights and the investigative team’s ethical and

constitutional obligations. Once a defendant is charged and the case enters the judicial phase, it

is common for agents to testify at preliminary, detention, suppression, and other pretrial hearings

as to their investigatory actions. Often, such testimony includes whether they received, and

followed, advice provided by the prosecutor. To disqualify a prosecutor each time her advice is

challenged would result in a myriad of unintended negative consequences to the fair and efficient

administration of justice. Accordingly, the D.C. Circuit has been hesitant to find prosecutorial

misconduct stemming from prosecutors’ legal advice to investigators. See, e.g., United States v.

Heldt, 668 F.2d 1238 (D.C. Cir. 1981) (“Most prosecutors participate in searches to some extent

by drafting applications for search warrants and giving legal advice to agents conducting searches,

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and such practice is certainly encouraged. A loose disqualification rule based on legal advice

rendered in an official capacity could disrupt the orderly process of criminal prosecutions without

rendering any corresponding benefit to the public.”).

         Requiring the disqualification of a prosecutor each time her advice is challenged is

untenable and unwarranted. Such an extreme remedy would remove the executive branch’s

discretion in how to best assign and staff its matters. It would encourage frivolous suppression

motions for the sole purpose of unfairly hindering the government’s case by routinely disqualifying

prosecutors from their cases. The results would be disastrous to judicial economy. Moreover,

forcibly recusing prosecutors would discourage them from providing legal advice during their

investigations, creating a chilling effect that could potentially lead to panoply of mistakes, whether

constitutional violations, logistical errors, or investigative mishaps. Notably, such disqualifications

could be used maliciously as a backdoor method for defendants to personally implicate prosecutors

in adverse evidentiary rulings and create potential personal liability, or at the very least reportable

ethical concerns. Defendants would effectively be encouraged to target prosecutors they would

rather not have assigned to their cases. 11 The court should reject such tactics and deny the

defendant’s motion.

         Notwithstanding the defendant’s pending motion to withdraw his guilty plea, the

extraordinary request to remove a prosecutor underpinning an unresolved and ongoing issue is

both surprising as it is meritless. Here, the prosecutors are well aware of their constitutional and



11
  The defense tactics, to include collaterally attacking a prosecutor by seeking disqualification and threatening civil
suits in a criminal pleading, are self-evident in the motion. However, additional corollary methods to chill a
prosecutor’s involvement in a case are also evident. Given the incendiary constitutional violations alleged by the
defense, resolution of the suppression arguments on other grounds (as often occur when courts are faced with various
avenues to resolve such arguments) may open the door to professional responsibility referrals, a route we take quite
seriously.

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ethical obligations. Moreover, the allegations raised by the defendant, even if accepted as true,

provide neither the legal, ethical, nor practical remedy he now seeks.

                                            CONCLUSION

        Ultimately, Ms. Perry’s conduct in relation to the seizure of the defendant’s phone and her

subsequent disclosure of the relevant materials were reasonable and well within the bounds of her

ethical and constitutional obligations. 12 She did not personally violate the defendant’s rights, nor

did she advise or encourage the agents to do so, and she therefore has no disqualifying personal

interest based upon a potential civil suit. Further, Ms. Perry is not an essential witness, and no

other conflicts or reasons exist to justify her disqualification from this case. The Department of

Justice fully supports her continued involvement in this matter and respectfully requests that this

Court deny the defendant’s motion to disqualify Ms. Perry.

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   The defendant’s citation to 18 U.S.C. § 241, implying that a department prosecutor committed a crime, is
astounding.
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By:      /s/                                              /s/
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